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                          UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                               )
                                                         )
                          Plaintiff,                     )
                                                         )
 v.                                                      )       Case No. 07-CR-0075-CVE
                                                         )
 BRYAN ROBERT RAY and                                    )
 HERMAN LEROY FRISTOE,                                   )
                                                         )
                                                         )
                          Defendants.                    )


                                        OPINION AND ORDER

         Now before the Court are the following motions: Defendant Ray’s Motion for Relief from

 Prejudicial Joinder and Brief in Support (Dkt. # 28), Defendant’s [Ray’s] Motion to Suppress and

 Brief in Support (Dkt. # 30), and Defendant Fristoe’s Motion to Suppress (Dkt. # 26). Both

 defendants, Bryan Robert Ray (“Ray) and Herman Leroy Fristoe (“Fristoe”), are charged with one

 count of possession of 500 grams or more of cocaine with intent to distribute under 21 U.S.C. §§ 841

 (a) and (b)(1)(B)(ii).

                                                    I.

         On April 15, 2007, Fristoe and Ray were driving a rental vehicle, a white sports utility

 vehicle, from Dallas, Texas to Kansas City, Missouri. At approximately 7:59 p.m.,1 Ray was driving


 1
         There is some dispute about the exact time of the traffic stop. The video camera in the
         trooper’s vehicle shows that the traffic stop was initiated at 7:59 p.m., while the trooper’s
         report states that traffic stop began at 6:55 p.m. At the hearing, the trooper testified that the
         video camera clock was not calibrated and the stop occurred at 6:55 p.m. In Fristoe’s motion
         to suppress, he states that the alleged traffic violation occurred around 7:30 p.m. As this is
         not a critical issue for resolution of the issues raised in defendants’ motions, the Court will
         refer to the time as shown by the video camera clock and the transcript made from that video
         recording to maintain an accurate time line of events.
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 east on Interstate 44 (“I-44”) near Vinita, Oklahoma when he exited the highway to enter the toll

 booth. Oklahoma Highway Patrol Trooper Ty Owen (“Owen”) was stationed on the east side of the

 highway and his patrol car was facing oncoming eastbound traffic. He testified that Ray exited the

 highway without signaling a lane change, and this was unsafe lane change under Oklahoma law.

 After Ray paid his toll and went through the toll booth, Owen pulled Ray over for failing to signal

 a lane change before pulling into the toll booth lanes.2 Owen stepped out of his patrol car and

 walked towards Ray’s vehicle. Owen motioned for Ray to get out of his car and meet Owen at the

 rear of the vehicle. Fristoe remained in the rental vehicle. Owen explained that Ray did not use a

 turn signal before entering the toll booth lane. Ray claimed that he did signal before pulling into the

 toll booth lanes, but Owen believed a traffic violation had occurred. Owen informed Ray that he

 would issue a warning citation for the traffic violation, and he asked Ray to sit in his patrol car while

 he completed the citation.

         Owen began to write the traffic citation, and Owen and Ray conversed while Owen was

 writing the citation. Owen testified that Ray was extremely nervous and would not make eye contact

 during the discussion. Owen also noticed that Ray was speaking quickly, and Owen believed that,

 based on his experience and training, Ray was attempting to control the conversation. According

 to Owen, this was an indication that Ray was trying to prevent Owen from asking questions and Ray

 may have felt this would end the encounter sooner. When Owen asked for the vehicle registration,

 Ray indicated that his wife had rented the vehicle and that she had the rental agreement in Missouri.


 2
         In his written motion, Fristoe challenges Owen’s assertion that Ray did not use his turn
         signal before pulling into the toll booth lanes, and he claims there was no reasonable basis
         for initiating a traffic stop. However, Ray concedes this failure to signal in his motion to
         suppress. In this Opinion and Order, the Court will make a finding of fact on this issue
         based on the evidence presented in the written motions and at the suppression hearing.

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 Owen testified that Ray became agitated when they discussed the rental paperwork, and Ray’s level

 of anxiety seemed to be increasing as the conversation continued. Ray claimed that his wife kept

 the rental paperwork with other documents related to their dog breeding business “for tax

 purposes.”3 The government states that “Owen knew from his experience that the rental agreement

 needed to always stay with the rental vehicle.” Dkt. # 31, at 2. Based on these factors, Owen began

 to suspect that criminal activity was afoot, but he states that he did not have reasonable suspicion

 or probable cause at that point in the encounter.

        As part of any traffic stop, Owen testified that he needed to determine if the driver was

 authorized to operate the vehicle. Owen exited the patrol car and walked toward the rental vehicle

 to ask Fristoe to look for the rental agreement.4 As Owen approached the rental vehicle, Fristoe

 rolled the window down about three inches to talk to Owen. Based on his training and experience,

 Owen interpreted this as a signal that Fristoe did not want to talk to Owen. Owen asked Fristoe to

 roll the window down further, and Fristoe complied. After Fristoe rolled the window down, Owen




 3
        Ray claimed that he drove to Dallas to sell a dog and, at the time he was pulled over, he had
        completed the sale in Dallas and was driving home to Kansas City. Owen testified that he
        did not see any evidence that the rental vehicle was used to transport a dog, such as a dog
        crate. After further questioning by Owen, Ray could identify the purchaser only as a “dude,”
        but he did not know the purchaser’s name. This suggested to Owen that Ray’s story about
        selling a dog was false.
 4
        Owen testified that he had not completed writing the citation when he approached Fristoe
        to ask him for the rental agreement. Owen stated that he had filled in driver’s name, address,
        and license number, but Owen claims that he needed evidence of the vehicle’s registration,
        such as the rental agreement, to complete the written citation.

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 asked Fristoe if the rental agreement was in the car.5 Fristoe opened the glove compartment and

 began to search for the rental agreement in the zipped owner’s manual case. Owen claims that

 Fristoe appeared nervous and his hands were “shaking uncontrollably” as he looked for the rental

 agreement. Id. at 2. Owen asked Fristoe to open the center console to look for the rental agreement,

 and Fristoe complied.

        Owen testified that he saw a “large black taped up bundle” in the center console and, based

 on his training and experience, he immediately believed the bag contained about a kilogram of a

 controlled substance.6 Owen asked Fristoe what was in the bundle, and Fristoe responded that the

 bundle contained a book. According to Owen, he formed an opinion that Fristoe was lying and this

 heightened his suspicion. At that time, Owen ordered Fristoe to exit the vehicle, and he placed

 Fristoe and Ray in handcuffs.7 After securing both men in his patrol car, Owen returned to the rental

 car and opened the black bundle with a pocket knife.8 He found approximately one kilogram of



 5
        Defense counsel repeatedly asked if Owen “ordered” Fristoe to search for the rental
        agreement, and implied that Owen acted in a threatening manner toward Fristoe. Owen
        acknowledged that he placed his hand on his gun while he talked to Fristoe. However, the
        gun remained in the holster during the entire traffic stop. Owen explained that he
        occasionally placed his hand on the gun for his own safety because Owen had no way of
        knowing if Fristoe had a weapon in the vehicle. Owen also denied that he ordered Fristoe
        to search for the rental agreement.
 6
        Owen testified that the center console would not close completely due to the size of the
        bundle. The government has provided the Court with a picture of the bundle placed flat in
        the center console, and it appears that the size of the bundle prevented the console from
        closing.
 7
        Based on the video recording and the transcript from the traffic stop, approximately seven
        minutes passed from the time the traffic stop began to the time when Ray and Fristoe were
        placed in handcuffs.
 8
        The government notes that Owen did find the rental agreement in the center console after the
        search of the vehicle was completed.

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 cocaine. Owen called for backup, and Troopers Darren Koch and Bob Dietrich arrived on the scene.

 During the “probable cause search” conducted by the three troopers, they discovered more drugs in

 the vehicle. On the floorboard of the rear passenger side seat of the vehicle, the troopers found a

 gallon-sized zip lock baggie containing approximately one or two pounds of cocaine.9 The baggie

 was hidden under a black jacket, suggesting that the drugs were purposefully hidden from sight. The

 troopers also found a small baggie of black tar heroin wrapped in clothing in the backseat.

        Ray and Fristoe have separately filed motions to suppress evidence seized during the search

 of the vehicle. Ray challenges the length of the detention and the search of the vehicle. Even if

 Owen had reasonable suspiction to initiate a traffic stop, Ray claims that Owen lacked a reasonable

 basis to extend the traffic stop beyond the issuance of a citation. Ray also claims that he did not

 consent to a search of the vehicle for the rental agreement and, by using Fristoe to search the vehicle

 for the rental agreement, Owen conducted an illegal search of the vehicle through Fristoe. Fristoe

 challenges the lawfulness of his detention under the Fourth Amendment.10 Fristoe claims that Owen

 “drafted Fristoe into the state’s service” by asking him to search the vehicle, and this exceeded the




 9
        Owen noted that some of the cocaine was in powder form and some of the cocaine was in
        brick form.
 10
        Fristoe initially claimed that he had standing to challenge his detention and the search of the
        vehicle. The Tenth Circuit has held that “without a possessory or proprietary interest in the
        vehicle searched, ‘passengers lack standing to challenge vehicle searches.’” United States
        v. DeLuca, 269 F.3d 1128, 1132 (10th Cir. 2001) (quoting United States v. Eylicio-Montoya,
        70 F.3d 1158, 1161 (10th Cir. 1995)). However, Fristoe may “contest the lawfulness of his
        own detention and seek to suppress evidence found in the vehicle as the fruit of the illegal
        detention.” United States v. Nava-Ramirez, 210 F.3d 1128, 1131 (10th Cir. 2000). At the
        suppression hearing, Fristoe conceded that Tenth Circuit precedent does not grant him
        standing, as a passenger, to challenge the search of the vehicle, and the Court will limit its
        review of Fristoe’s arguments to the lawfulness of his detention.

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 scope of the initial traffic stop. Dkt. # 27, at 6. In addition, Ray has moved for relief from

 prejudicial joinder, because he claims that Ray and Fristoe have a mutually antagonistic defense.

                                                    II.

         Ray has moved for severance “due to anticipated antagonistic defenses between he [sic] and

 [Fristoe].” Dkt. # 28, at 1. Ray requests relief from prejudicial joinder under Fed. R. Crim. P. 14(a),

 which provides:

         (a) Relief. If the joinder of offenses or defendants in an indictment, an information,
         or a consolidation for trial appears to prejudice a defendant or the government, the
         court may order separate trials of counts, sever the defendants’ trials, or provide any
         other relief that justice requires.

 Ray asserts that both defendants have stated their intention to disclaim possession of the cocaine

 found in the vehicle after the traffic stop, and there is a significant risk the jury will impose criminal

 liability against both defendants, even if the jury can not determine whether Ray or Fristoe possessed

 the drugs. At the suppression hearing, Ray argued that he intended to use Fed. R. Evid. 404(b)

 evidence against Fristoe, and he was unsure if he would be permitted to use this evidence in a joint

 trial. The government responds that there is a preference for joint trials when co-defendants are

 charged in the same indictment and, even if Ray and Fristoe will offer antagonistic defenses, no

 prejudice will result to either defendant from a joint trial.

         The Supreme Court has explicitly held that “mutually antogonistic defenses are not

 prejudicial per se,” and severance is not required unless the defendants will be prejudiced by a joint

 trial. Zafiro v. United States, 506 U.S. 534, 538 (1993). The Tenth Circuit has articulated a three

 step inquiry for a district court ruling on a motion to sever:

         First, it must determine whether the defenses presented are “so antagonistic that they
         are mutually exclusive.” Second, because “[m]utually antagonistic defenses are not
         prejudicial per se,” a defendant must further show “a serious risk that a joint trial

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          would compromise a specific trial right . . . or prevent the jury from making a
          reliable judgment about guilt or innocence.” Third, if the first two factors are met,
          the trial court exercises its discretion and “weigh[s] the prejudice to a particular
          defendant caused by joinder against the obviously important considerations of
          economy and expedition in judicial administration.”

 United States v. Pursley, 474 F.3d 757, 765 (10th Cir. 2007). Under Fed. R. Crim. P. 14, defendants

 are not entitled to severance as a matter of right, and the trial court has substantial discretion when

 determining if severance is appropriate. Bailey v. United States, 410 F.2d 1209, 1213 (10th Cir.

 1969).

          Assuming the first element of Pursley is satisfied and defendants have a mutually

 antagonistic defense, Ray has not shown that any prejudice will result from a joint trial in this case.

 Ray cites United States v. Green, 324 F. Supp. 2d 311 (D. Mass. 2004), for the proposition that

 federal courts can sever a case when two defendants dispute possession of drugs, because the

 defendants are both relying on an inherently antagonistic defense.               However, Green is

 distinguishable. In Green, five co-defendants were charged with violations of the Racketeer

 Influenced and Corrupt Organizations Act and, because one of the factual allegations against the

 defendants included murder, two of the defendants faced the death penalty under federal law. Id.

 at 314. The court severed the trial of the two defendants facing the death penalty, Darryl Green and

 Brendan Morris. The government intended to argue that Green and Morris had joint criminal

 liability for murder, while the defendants intended to show that there was one shooter. Given the

 serious penalty at issue, the district court elected to sever the trials of Green and Morris, but the

 court still joined each of the capital defendants with a group of non-capital defendants over the

 defendants’ objection. It is not clear how Green applies to this case, as possession of drugs was not




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 at issue in Green. Green does not provide a legal basis for a finding of prejudice in this case under

 the second element of Pursley.

        Ray argues that it is unclear whether he will be able to use Rule 404(b) evidence against his

 co-defendant in a joint trial. Fed. R. Evid. 404(b) provides:

        Evidence of other crimes, wrongs, or acts is not admissible to prove the character of
        a person in order to show action in conformity therewith. It may, however, be
        admissible for other purposes, such as proof of motive, opportunity, intent,
        preparation, plan, knowledge, identity, or absence of mistake or accident, provided
        that upon request by the accused, the prosecution in a criminal case shall provide
        reasonable notice in advance of trial, or during trial if the court excuses pretrial
        notice on good cause shown, of the general nature of any such evidence it intends to
        introduce at trial.

 The rule does not include any language that would imply a defendant can not use Rule 404(b)

 evidence against a co-defendant. However, in practice, Rule 404(b) evidence is ordinarily used by

 the prosecution against a defendant. This case presents a somewhat unusual situation, because Rule

 404(b) evidence is rarely offered by a defendant in support of his defense and there is little case law

 discussing a defendant’s right to rely on Rule 404(b) evidence against a codefendant at trial. Based

 on the few cases the court has found, it appears that a defendant can use Rule 404(b) evidence in

 support of his own defense. United States v. Aboumoussallem, 726 F.2d 906, 911 (2d Cir. 1984)

 (Rule 404(b) evidence is admissible for defensive purposes); United States v. McClure, 546 F.2d

 670, 673 (11th Cir. 1977) (reversible error to exclude Rule 404(b) evidence offered by defendant).

 Of course, Fristoe and the government have the right to contest the admissibility of the evidence,

 and the Court must find that evidence satisfies the four part test crafted by the Tenth Circuit for the

 admissibility of Rule 404(b) evidence. United States v. Mares, 441 F.3d 1152, 1156 (10th Cir.

 2006); United States v. Zamora, 222 F.3d 756, 762 (10th Cir. 2000). However, there is certainly




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 nothing in Rule 404(b) prohibiting a defendant from using evidence of other crimes against a co-

 defendant, and this is not a source of prejudice necessitating severance under Fed. R. Crim. P. 14(a).

         The general rule is that defendants indicted together should be tried together. Zafiro, 506

 U.S. at 538; United States v. Green, 115 F.3d 1479, 1487 (10th Cir. 1997); United States v.

 Martinez, 76 F.3d 1145, 1153 (10th Cir. 1996). In this case, it is not even clear that defendants will

 raise mutually antagonistic defenses, and Ray simply states that it is a possibility. Ray does not

 point to any evidence that would be admissible against Fristoe but not admissible in a trial against

 Ray only. See, e.g., Bruton v. United States, 391 U.S. 123 (1968). In addition, Ray can use Rule

 404(b) evidence if he makes a sufficient showing that this evidence is admissible, and he will not

 be denied the use of any evidence based solely on the fact that Ray and Fristoe will be tried together.

 Based on the arguments presented in Ray’s motion and at the suppression hearing, he has not

 established that any prejudice will result from a joint trial, or that he will deprived of a specific trial

 right if defendants are tried together. Martinez, 76 F.3d at 1152. Although Ray apparently believes

 he will have a better chance of acquittal if defendants are tried separately, this is not a legitimate

 basis to grant a motion to sever. United States v. Cardell, 885 F.2d 656, 668 (10th Cir. 1989).

 Therefore, his motion to sever is denied.

                                                    III.

         Fristoe and Ray challenge the lawfulness of their detention and Ray contests the search of

 the vehicle under the Fourth Amendment. They assert that Owen “draft[ed] Fristoe into the state’s

 service and utiliz[ed] him” to conduct a search which would otherwise have been illegal under the

 Fourth Amendment. Dkt. # 27, at 6.




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 The Initial Stop

         A traffic stop is treated as an investigative detention, and such a stop is governed by the

 standards set forth in Terry v. Ohio, 392 U.S. 1 (1968). United States v. Bradford, 423 F.3d 1149,

 1156 (10th Cir. 2005). When determining the reasonableness of a traffic stop, the Court must make

 two separate inquiries. First, did the police officer have a valid reason for initiating the traffic stop.

 United States v. Botero-Ospina, 71 F.3d 783, 787 (10th Cir. 1995). “[A] traffic stop is valid under

 the Fourth Amendment if the stop is based on an observed traffic violation or if the police officer

 has a reasonable articulable suspicion that a traffic or equipment violation has occurred or is

 occurring.” Id. Second, a traffic stop must not become an unnecessarily lengthy detention, but must

 be limited in scope to the purpose of the initial traffic stop. United States v. Rice, 483 F.3d 1079,

 1083 (10th Cir. 2007). A police officer may extend the length of the traffic stop for questioning

 beyond the initial purpose of the traffic stop only if the officer has “an objectively reasonable and

 articulable suspicion that illegal activity has occurred, or the driver voluntarily consents to further

 questioning.” United States v. Ramirez, 479 F.3d 1229, 1243 (10th Cir. 2007).

         Fristoe claims that Owen lacked reasonable suspicion to initiate a traffic stop and that the

 length of the detention was unreasonable. In Fristoe’s motion to suppress, he claims that Ray did

 use his turn signal before entering the toll booth lanes, and the traffic stop was invalid. At the

 suppression hearing, Owen testified that Ray failed to signal, and Ray does not contest this fact in

 his motion to suppress. The Court finds that Owen had reasonable suspicion that a traffic violation

 occurred, specifically that Ray failed to signal a lane change before entering the toll booth lanes.

 In United States v. Manjarrez, 348 F.3d 881 (10th Cir. 2003), the Tenth Circuit held that failure to

 signal a lane change before entering the toll booth lanes constitutes a traffic violation under


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 Oklahoma law. Id. at 885. Owen’s testimony that Ray committed a traffic violation was credible,

 and neither defendant offered any evidence to refute Owen’s testimony. Therefore, the Court finds

 that Owen had reasonable suspicion that a traffic violation occurred and the first prong of Terry is

 satisfied.

         Under the second prong of the Terry analysis, the scope of the detention must not exceed the

 initial purpose of the traffic stop. A traffic stop can become unlawful if it is prolonged beyond the

 time needed to complete the purpose of the initial traffic stop. United States v. Patterson, 472 F.3d

 767, 776 (10th Cir. 2006). The Tenth Circuit has recently held that the “correct Fourth Amendment

 inquiry (assuming the detention is legitimate) is whether an officer’s traffic stop questions ‘extended

 the time’ that a driver was detained, regardless of the questions’ content.” United States v. Stewart,

 473 F.3d 1265, 1269 (10th Cir. 2007). Ray and Fristoe claims that Owen exceeded the permissible

 scope of a traffic stop by using a passenger to search private areas of the vehicle. However, Owen

 is permitted to determine as a routine part of a traffic stop whether Ray was authorized to operate

 the vehicle. United States v. Hunnicut, 135 F.3d 1345, 1349 (10th Cir. 1998); United States v. Soto,

 988 F.2d 1548, 1554 (10th Cir. 1993). When police pull over a rental vehicle, the failure to produce

 the rental agreement during the traffic stop is a legitimate source of police questioning and it can

 provide a legitimate basis to extend the traffic stop. United States v. Martin, 422 F.3d 597, 602 (7th

 Cir. 2005); United States v. Obregon, 748 F.2d 1371, 1376 (10th Cir. 1984); United States v.

 McKinney, 2007 WL 230766, at *2 (S.D. Ga. Jan. 24, 2007). Owen’s questions about the rental

 agreement were within the scope of the original traffic stop, because Owen was authorized to

 determine as a routine part of a traffic stop whether the driver was authorized to operate the vehicle.

 United States v. Zubia-Melendez, 263 F.3d 1155, 1161 (10th Cir. 2001).


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        Neither Ray nor Fristoe has shown that the traffic stop was invalid from its inception or that

 the length on the detention was unreasonable. In particular, Fristoe’s arguments are improperly

 directed towards the search of the vehicle rather than the length of the detention, and he lacks

 standing to challenge the automobile search. After reviewing the video footage and transcript of the

 traffic stop, the Court finds that approximately seven minutes passed from the inception of the traffic

 stop to the time Owen placed Ray and Fristoe in handcuffs. This is not an unreasonable length of

 time for a traffic stop. See United States v. Biseno, 2006 WL 12248 (10th Cir. Jan. 18, 2006) (police

 officers did not impermissibly extend the duration of the traffic stop where the process took no more

 than 19 minutes); United States v. Garner, 2003 WL 21465499 (10th Cir. June 25, 2003) (15 minute

 lapse of time from the stop of the vehicle to the time the officer issued a warning citation did not

 constitute unlawful detention).11 The Court finds that Owen had reasonable suspicion to initiate a

 traffic stop and the length of the detention was reasonable. In addition, Owen’s questions about the

 location of the rental agreement were clearly within the scope of the traffic stop, as he was simply

 attempting to determine if Ray was authorized to drive the vehicle.

 Fristoe’s “Search” for the Rental Agreement

        Ray moves to suppress evidence seized during a search of the automobile on the ground that

 Owen exceeded the permissible scope of the traffic stop by using Fristoe to search the vehicle for

 the rental agreement. Ray acknowledges that Owen could ask Ray to produce his driver’s license

 and proof that he was authorized to use the vehicle, but he claims that Owen did not have the



 11
        The Court is aware that citation of an unpublished decision is disfavored. 10th Cir. R. 36.3.
        However, this unpublished decision has persuasive value on a material issue not address in
        a published opinion and it assists the Court in its disposition of this issue.


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 authority to search the vehicle for the rental agreement. At approximately 8:03 p.m., or four minutes

 into the traffic stop, Owen asked Ray where the rental agreement was located. As discussed above,

 this is not an unreasonable amount of time for a traffic stop and Ray’s authority to operate the

 vehicle was a permissible subject about which to inquire during a traffic stop. However, Ray argues

 that Owen used Fristoe to effect a separate Fourth Amendment search of the vehicle, and Owen

 lacked reasonable suspicion to suspect Ray or Fristoe of criminal activity beyond the scope of the

 initial traffic stop.

         The heart of Ray’s Fourth Amendment challenge goes to the method used by Owen to

 determine the presence of the rental agreement in the vehicle. Owen did not seek consent to search

 the vehicle, nor did Ray voluntarily offer his consent for Owen to search the car for the rental

 agreement. Ray argues that Owen did not have probable cause to search the vehicle for the rental

 agreement, and Owen’s use of Fristoe to conduct a search that otherwise violated Ray’s rights

 should constitute a violation of the Fourth Amendment. However, Ray fails to establish a necessary

 predicate for this argument -- that Owen’s request to Fristoe to look for the rental agreement was

 a search under the Fourth Amendment.12 The underlying presumption of Ray’s argument is that

 Owen conducted a Fourth Amendment search of the vehicle when he asked Fristoe to look in the

 glove compartment or the center console.




 12
         Both parties rely on New York v. Class, 475 U.S. 106 (1986), where the Supreme Court held
         that a police officer did not violate a driver’s rights by reaching into a vehicle to clear papers
         that were obscuring the Vehicle Identification Number (“VIN”). Id. at 108. However, the
         Tenth Circuit has limited the applicability of Class to verification of the VIN, and it does not
         apply under the facts of this case. United States v. Chavira, 467 F.3d 1286, 1289 n.1 (10th
         Cir. 2006); United States v. Caro, 248 F.3d 1240, 1245 (10th Cir. 2001).

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        The issue is whether Owen could ask Fristoe, a passenger in the vehicle, to look for the rental

 agreement. Owen could separate the driver and passenger during the traffic stop, and he could

 separately question Fristoe to verify Ray’s responses about the vehicle’s ownership or defendants’

 travel destination. See United States v. Lee, 159 Fed. Appx. 1, 6-7 (10th Cir. Dec. 7, 2005);13 United

 States v. Linkous, 285 F.3d 716, 719 (10th Cir. 2002); United States v. $159,880.00 in U.S.

 Currency, More or Less, 387 F. Supp. 2d 1000, 1018 (S.D. Iowa 2005). Although the specific issue

 in this case has not clearly been addressed by other courts, existing case law has not treated a police

 officer’s request to a passenger to produce the vehicle’s registration as a search under the Fourth

 Amendment. United States v. Malloy, 217 Fed. Appx. 342 (5th Cir. Feb. 8, 2007) (police separated

 driver and passenger before requesting registration, and passenger provided police with registration

 papers); United States v. Henry, 372 F.3d 714, 716 (5th Cir. 2004) (police officer’s request to

 passenger to provide registration not treated as a separate search). Tenth Circuit precedent implies

 that police may ask the driver and the passenger to produce valid registration and, if neither can

 produce the registration, this may provide reasonable suspicion to continue a traffic stop. See

 United States v. de la Fuente-Ramos, 2000 WL 1717186, at *7 (10th Cir. Nov. 16, 2000) (“We have

 held that an officer making a traffic stop may ask about travel plans and ownership of the vehicle

 . . . and that, if the driver and the passenger are unable to produce a valid registration, a reasonable

 suspicion arises that the vehicle may be stolen . . . .”). Owen’s request for Fristoe to look for the

 rental agreement was within the scope of the traffic stop, and the Court has not found precedent



 13
        The Court is aware that citation of an unpublished decision is disfavored. 10th Cir. R. 36.3.
        However, this unpublished decision has persuasive value on a material issue not address in
        a published opinion and it assists the Court in its disposition of this issue.


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 suggesting that Owen could not ask Fristoe to produce the rental agreement. Based on existing case

 law, the Court concludes that Owen did not violate the Fourth Amendment by asking a passenger

 to produce the rental agreement.

        Based on the evidence presented in the suppression hearing, the Court finds that Owen

 simply asked Fristoe to look for the rental agreement in the glove compartment and the center

 console, and Fristoe complied without objection. This was a routine part of the traffic stop, not a

 separate search, and as long as Owen stayed within the scope of the traffic stop, this does not present

 a problem under the Fourth Amendment. United States v. Olivera-Mendez, 484 F.3d 505, 509 (8th

 Cir. 2007) (“When there are complications in carrying out the traffic-related purposes of the stop,

 for example, police may reasonably detain a driver for a longer duration than when a stop is strictly

 routine.); United States v. Gregoire, 425 F.3d 872, 879 (10th Cir. 2005) (“In a routine traffic stop,

 a trooper may request a driver’s license, vehicle registration and other required papers, run necessary

 computer checks, and then issue any warning or citation.”). The undersigned can not find any case

 law treating a police officer’s request to produce a vehicle’s registration or a rental agreement as

 anything other than a routine part of a traffic stop, and the Court does not find that Owen violated

 the Fourth Amendment under the facts of this case.

        Even if Owen did not violate Ray’s Fourth Amendment rights by asking Fristoe to look in

 the center console for the rental agreement, the government must still show that Owen could

 lawfully enter the vehicle to seize the drugs, because Owen’s removal of the drugs from the vehicle

 was clearly a seizure under the Fourth Amendment. The government argues that the black bundle

 containing approximately one kilogram of cocaine was in plain view after Fristoe opened the center




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 console, and Owen could seize the bundle without a warrant. Under the plain view doctrine, a police

 officer may seize evidence if:

        (1) the officer was lawfully in a position from which to view the object seized in
        plain view; (2) the object’s incriminating character was immediately apparent-i.e.,
        the officer had probable cause to believe the object was contraband or evidence of
        a crime; and (3) the officer had a lawful right of access to the object itself.

 United States v. Sanchez, 89 F.3d 715, 719 (10th Cir. 1996) (quoting United States v. Soussi, 29

 F.3d 565, 570 (10th Cir. 1994)). In this case, Owen was lawfully located in a position outside the

 vehicle from which to view the bundle. The government claims that Owen recognized the bundle

 as a kilogram-sized package containing drugs and, based on his experience, the incriminating

 character of the evidence was immediately apparent. Owen testified that he had seen similar bundles

 in previous traffic stops, and the incriminating character of the bundle was immediately apparent

 based on his training and experience. See United States v. Castorena-Jaime, 285 F.3d 916 (10th Cir.

 2002) (police officer can show that incriminating nature of object was immediately apparent by

 establishing a “practical, nontechnical probability that incriminating evidence is involved”). In

 addition, Fristoe lied about the contents of the bundle and Owen relied on this as a factor to

 determine that criminal activity was occurring. According to the government, Owen’s observation

 was also sufficient to show that probable cause existed to perform an automobile search, and he had

 a lawful right of access to the vehicle.

        The Court finds that government has established all three elements of the plain view doctrine,

 and Owen did not violate Ray’s Fourth Amendment rights by removing the drugs from the vehicle.

 Owen’s actions toward Fristoe were clearly within the scope of the traffic stop and Owen had

 probable cause to believe that drugs were in the car before he instituted a search of the vehicle. No




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 Fourth Amendment violation occurred, and the Court denies suppression of the evidence seized

 during the search of the vehicle.

 Reasonable Suspicion for Continued Detention

        Given that the Court has found that Owen’s request to Fristoe was within the scope of the

 initial traffic stop, the Court does not need to consider defendants’ arguments that Owen lacked

 reasonable suspicion to continue the traffic stop. See Patterson, 472 F.3d at 778. However, the

 Court also finds that, even if Owen had detained defendants beyond the time necessary to effectuate

 the traffic stop, Owen had reasonable suspicion to prolong the stop.

        It is well established that a detention that extends beyond the scope of the traffic stop is

 reasonable if prolongation of the stop was supported by reasonable suspicion.14 See United States

 v. Wallace, 429 F.3d 969, 974 (10th Cir. 2005). Reasonable suspicion is a “particularized and

 objective basis for suspecting the person stopped of criminal activity.” Ornelas v. United States, 517

 U.S. 690, 696 (1996) (internal quotation marks omitted). An “inchoate and unparticularized

 suspicion or ‘hunch’ is insufficient” to support reasonable suspicion. United States v. Hall, 978 F.2d

 616, 620 (10th Cir. 1992) (internal quotations and citations omitted). Reasonable suspicion

 “represents a minimum level of objective justification which is considerably less than proof of

 wrongdoing by a preponderance of the evidence.” United States v. Alcaraz-Arellano, 441 F.3d

 1252, 1260 (10th Cir. 2006) (quoting United States v. Mendez, 118 F.3d 1426, 1431 (10th Cir.

 1997)). In determining whether an officer had reasonable suspicion of criminal activity, the Court




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        Prolongation of the stop is also justified if the encounter is consensual. See United States
        v. Elliott, 107 F.3d 810, 814 (10th Cir. 1997). Consent is not an issue in this case.

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 does not evaluate the facts in isolation but instead construes them together based on the totality of

 the circumstances. United States v. Arivizu, 534 U.S. 266, 274 (2002).

        In the government’s response, it cites a list of factors apparent to Owen at the time of the

 traffic stop showing that he had reasonable suspicion that criminal activity was afoot:

        a.      Extreme nervousness of the driver;
        b.      the driver wrenching his hands;
        c.      the driver sweating abnormally;
        d.      the driver not making eye contact;
        e.      driver trying to control conversation;
        f.      nervousness after being told only a warning was to be issued;
        g.      rental vehicle, allegedly without documentation;
        h.      driver who did not rent vehicle;
        i.      rented vehicle in third party name;
        j.      confusing travel explanation;
        k.      nervous conversation without questions prompting answers;
        l.      passenger only rolling window down a few inches;
        m.      passenger extremely nervous;
        n.      passenger shaking hands and fumbling for paperwork;
        o.      passenger looking for rental agreement in zippered owner manual case;
        p.      car traveling from source city;
        q.      lack of dog equipment in vehicle (crate, etc.); and
        r.      purported lack of rental agreement.

 Dkt. # 31, at 12. The Court recognizes that each of these factors, in isolation, does not support

 reasonable suspicion and that some of the factors are only minimally relevant in the reasonable

 suspicion analysis. See, e.g., United States v. Santos, 403 F.3d 1120, 1227 (10th Cir. 2005)

 (“nervousness is a sufficiently common – indeed natural – reaction to confrontation with the police”

 and is of “limited significance” in a reasonable suspicion analysis, but “extraordinary and prolonged

 nervousness can weigh significantly in the assessment of reasonable suspicion”); id. at 1132 (courts

 should not place too much emphasis on travel to common destinations because “[o]ur holding that

 suspicious travel plans can form an element of reasonable suspicion should not be taken as an




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 invitation to find travel suspicious per se”) (emphasis in original). However, as noted above, the

 Court views these factors in totality. The Tenth Circuit recently explained,

        Factors, which when taken separately may be perfectly innocent behavior, can
        support a finding of reasonable suspicion when taken together. Conversely, although
        the nature of the totality of the circumstances makes it possible for individually
        innocuous factors to add up to reasonable suspicion, it is impossible for a
        combination of wholly innocent factors to combine into a suspicious conglomeration
        unless there are concrete reasons for such an interpretation. In analyzing the factors
        that may amount to reasonable suspicion, we must be careful to judge the officer’s
        conduct in light of common sense and ordinary human experience but also to grant
        deference to a trained law enforcement officer’s ability to distinguish between
        innocent and suspicious circumstances.

 Ramirez, 479 F.3d at 1244.

        In this case, there was sufficient objective evidence available to Owen at the time of the

 traffic stop to support a finding of reasonable suspicion. Ray seemed unusually nervous for a

 passenger who was aware he was receiving a warning citation only. Ray’s story about selling a dog

 was suspicious, because there was no evidence of dog equipment in his car and Ray could not

 identify the purchaser. There is evidence that Ray was trying to control the conversation, because

 his lengthy statements were not in response to any questions from Owen. Ray’s statement that the

 rental agreement was not in the vehicle was also a cause for suspicion, because proof of

 authorization to drive a rental vehicle should be kept in the car. Fristoe’s conduct, such as initially

 failing to roll the window down more than three inches and his shaking hands while looking for the

 rental agreement, could have legitimately aroused Owen’s suspicion of criminal activity. Owen had

 sufficiently concrete reasons for suspecting criminal activity and, even if the detention was extended

 beyond the initial purpose of the traffic stop, Owen’s actions were not unreasonable under the Fourth

 Amendment.




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        IT IS THEREFORE ORDERED that Defendant Ray’s Motion for Relief from Prejudicial

 Joinder and Brief in Support (Dkt. # 28), Defendant’s [Ray’s] Motion to Suppress and Brief in

 Support (Dkt. # 30), and Defendant Fristoe’s Motion to Suppress (Dkt. # 26) are denied.

        DATED this 5th day of July, 2007.




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